                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


DONALD AGEE, JR., an individual, et
al.,
                                         Case No. 1:22-cv-00272
           Plaintiffs,
                                         Three-Judge Panel Appointed
v.                                       Pursuant to 28 U.S.C. § 2284(a)

JOCELYN BENSON, et al.,                  ORAL ARGUMENT REQUESTED

           Defendants.


     INDEX OF EXHIBITS – PLAINTIFFS’ SUPPLEMENTAL BRIEF ON
                       PROPOSED REMEDY


Exhibit                  Description


 A                       Proposed Order Appointing Special Master

 B                       Declaration and Sample Maps of Sean P. Trende
 C                       Gongwer Article dated December 18, 2023

 D                       Eid Post

 E                       Commissioner Letter to Three-Judge Panel dated
                         December 27, 2023, including attachments

 F                       Non-Exhaustive List of Michigan Independent
                         Redistricting Commission Training and Educational
                         Sessions (pulled from public Commission record)

 G                       Agenda for Commission Meeting on December 14, 2023
                         and 2024 Calendar of Meetings

 H                       In re Decennial Redistricting Pursuant to The
                         Constitution of Virginia, Redistricting Appointment Order
                         dated November 19, 2021; Singleton v. Merrill, Case No.
21-cv-1291, Order Appointing Special Master and
Appointing Expert Cartographer dated February 7, 2022.
